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 4                                UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
     UNITED STATES OF AMERICA,                 )
 7                                             )
                       Plaintiffs,             ) Case No. 2:13-cr-00018-JCM-GWF
 8                                             )
     vs.                                       ) ORDER
 9                                             )
     LEON BENZER, et al.                       )
10                                             )
                       Defendants.             )
11   __________________________________________)
12          This matter is before the Court on Defendant Keith Gregory’s Motion to Seal Supplement to
13   his Motion to Sever (#347), filed on September 16, 2014. Defendant represented in his motion that
14   counsel for the Government stated to him that “the instant Motion to Seal documents is appropriate.”
15   Because the documents sought to be sealed are attached to Defendant’s motion, the Court
16   temporarily sealed them until it could further consider this request. The Government has since filed
17   its Response to Defendant Gregory’s Motion (#349) stating that it does not agree that sealing of the
18   documents is appropriate, and furthermore that Defendant have offered no grounds for sealing the
19   documents. The Court agrees. Based on the public’s presumed right of access to court proceedings
20   and documents under the First Amendment, United States v. Guerrero, 693 F.3d 999, 1000 (9th Cir.
21   2012), and Defendant’s failure to provide any grounds for sealing the documents,
22          IT IS HEREBY ORDERED that Defendant Keith Gregory’s Motion to Seal Supplement to
23   his Motion to Sever (#347) is denied.
24          IT IS FURTHER ORDERED that Exhibit A to the Motion to Seal Supplement to his
25   Motion to Sever (#347) is hereby unsealed.
26            DATED this 17th day of September, 2014.
27
28                                                ______________________________________
                                                  GEORGE FOLEY, JR.
                                                  United States Magistrate Judge
